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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
 NATIONAL STUDENT LEGAL DEFENSE                     )
 NETWORK, et al.,                                   )
                                                    )
                Plaintiffs,                         )
                                                    )
                                                              Civil Action No. 20-2254 (RC)
        v.                                          )
                                                    )
 U.S. DEPARTMENT OF EDUCATION,                      )
                                                    )
                Defendant.                          )
                                                    )

                               STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties to this action hereby

stipulate to dismiss this action with prejudice pursuant to the parties’ settlement agreement

executed in connection with this matter.

Respectfully submitted,

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 Dated: April 19, 2021
